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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


BMG RIGHTS MANAGEMENT                          )
(US) LLC, etal,                                )
                                               )
                        Plaintiffs,            )
                                               )   Civil Action No. I:14cvl611 (LO/JFA)
         v.                                    )
                                               )
COX ENTERPRISES, INC., el al.,                 )
                                               )
                        Defendants.            )
                                               )

                                               ORDER


         On June 3, 2015, a motion to quash was Tiled by a person having been assigned an IP

address after the dates of the alleged infringement from the subject IP address. (Docket no. 83).

Given the nature of the claims raised in this action by BMG Rights Management and Round Hill

Music ("BMG/Round Hill") against Cox Enterprises, Inc. ("Cox"), the court found that account

information for a group of Cox subscribers is relevant to the claims asserted in the action and

should be produced by Cox. It appearing to the court that the movant has provided sufficient

information to establish that the subject IP address was not assigned to the individual Tiling the

motion to quash during the time periods set forth in the attachment to the motion to compel, it is

hereby

         ORDERED that the motion to quash is granted and Cox is not required to provide any

additional information as to this subscriber and BMG/Round Hill shall not use any information

relating to this subscriber.

         Entered this 30th day ofJune, 2015.                        /s/ S^Q"~
                                                     John F. Anderson "
                                                     United States Magistrate Judge
                                                      John F. Anderson
Alexandria, Virginia                                  United States Magistrate Judge
